193 F.2d 40
    AIR TRANSPORT ASSOCIATES, Inc., petitioner,v.CIVIL AERONAUTICS BOARD, respondent.
    No. 10914.
    United States Court of Appeals District of Columbia Circuit.
    Decided November 23, 1951.
    
      On Petition for Review of Orders of the Civil Aeronautics Board.
      Warren E. Miller, Washington, D. C., for petitioner.
      James L. Highsaw, Jr., Washington, D. C., of the Bar of the Court of Appeals of Tennessee, pro hac vice, by special leave of Court, Attorney, Civil Aeronautics Board, with whom Asst. Atty. Gen. H. G. Morison, Emory T. Nunneley, Jr., General Counsel, Civil Aeronautics Board, John H. Wanner, Associate General Counsel, Civil Aeronautics Board, and Warren L. Sharfman, Attorney, Civil Aeronautics Board, all of Washington, D. C., were on the brief, for respondent.
      Charles H. Weston, Chief, Appellate Section of the Antitrust Division, Joe F. Nowlin, Attorney, Department of Justice, and O. D. Ozment, Attorney, Civil Aeronautics Board, all of Washington, D. C. also entered appearances for respondent.
      Before EDGERTON, CLARK, and PROCTOR, Circuit Judges.
      PER CURIAM.
    
    
      1
      We find no error in the record. The orders of the Civil Aeronautics Board are therefore
    
    
      2
      Affirmed.
    
    